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                             UNITED STATES DISTRICT COURT

                               FOR THE DISTRICT OF UTAH


    LAURA A. GADDY, individually and on
    behalf of all others similarly situated,
                                                   ORDER GRANTING EXTENSION
               Plaintiffs,                           OF TIME TO RESPOND TO
                                                   MOTION TO DISMISS AMENDED
                     v.
                                                           COMPLAINT
    CORPORATION OF THE
                                                        (DEMAND FOR JURY TRIAL)
    PRESIDENT OF THE CHURCH OF
    JESUS CHRIST OF LATTER-DAY
    SAINTS, a Utah corporation sole.               Case Number: 2:19-cv-00554-RJS

                                                        Presiding Judge: Robert J. Shelby
   Defendant
                                                        Magistrate Judge: Dustin B. Pead

       Pursuant to agreement of the parties, Plaintiff’s Stipulated Motion for an Extension of

Time to respond to Defendant’s Motion to Dismiss Amended Complaint is hereby granted.

Plaintiff shall have up to and including July 14, 2020 within which to file her Opposition to the

Motion to Dismiss Amended Complaint.

        DATED: June 16, 2020.         BY THE COURT:
                                               URT:


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